Case 2:99-cr-20Q1Q31-

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UNITED STATES OF AMERICA

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vs. * CR. NO. UWH‘SL_ 5 zS`|'- CT»
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JEFFERY HOUSTON

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On June 20, 2005, Jejery Houston appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant had previously been advised
of his rights under Fed.R.Crirn.P. 5 and 32.l(a), and counsel was appointed

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on
the violation was not required _S_Q§United States v. _S_g_i_t;tg_, 531 F.2d 842, 846 (7th Cir. 1976) and
United States v. Ii_L:_lg§_;, 524 F.Zd 77, 78 (Sth Cir. 1975), g§;t_. g§_r_i_i_e;d, 424 U.S. 966, 96 S.Ct. 1462,
47 L.Ed.2d 733 (1976).

Accordingly, defendant, Jeffery Houston is held to a final revocation hearing before United
States District Judge Jon Phipps McCalla. It is presumed that the District ludge Will set this matter
for a revocation hearing pursuant to Fed.R.Crirn.P. 32.1(b), (c), and will see that appropriate notices

are given.

rr rs so 0RDERED thisZ{ day of 'J`UML_ , 2005.

TU'M. PHAivi
uNrrEr) srArEs MAGISTRATE JUDGE

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ISTRIC COURT - W'"RNTE D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 67 in
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Honorable J on McCalla
US DISTRICT COURT

